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      EXHIBIT 36
  TO DECLARATION OF
RICHARD CHARLES EAST
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By Email & Post                                                                                                      London
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FAO: Richard East                                                                                                    NAG/ET/LF




19 October 2021


Dear Sir/Madam

Claim of Credit Suisse Virtuoso SICAV-SIF (an Investment Company with Variable
Capital under Luxembourg law, SICAV), acting in respect of its sub-fund, Credit
Suisse (Lux) Supply Chain Finance Fund


      1. We refer to our letter dated 7 October 2021 sent to Mr Timothy Mackey, group
         compliance officer at SoftBank Group, appended at Schedule 1 and to the letter
         received from Morrison & Foerster (UK) LLP dated 18 October 2021, appended at
         Schedule 2, which states that you act for certain of the SoftBank Entities as defined
         therein.
      2. Accordingly, please confirm, by no later than Thursday 21 October 2021, which of the
         SoftBank Entities you act for.


Yours faithfully




Freshfields Bruckhaus Deringer LLP




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                            SCHEDULE 1
                         SOFTBANK LETTER
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By Email & Post                                                                                                      London
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SoftBank Group
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Minato-Ku
Tokyo 105-7537



7 October 2021


Dear Mr Mackey

Claim of Credit Suisse Virtuoso SICAV-SIF (an Investment Company with Variable
Capital under Luxembourg law, SICAV), acting in respect of its sub-fund, Credit
Suisse (Lux) Supply Chain Finance Fund (the “Fund”)1


      1. We are sending this to you in your capacity as Group Compliance Officer at SoftBank
            Group (“SBG”), and in so doing are also giving notice to each of the SoftBank Entities
            listed at Schedule 1. Should you require us to write separately to each of the relevant
            SoftBank Entities, please let us know.


      2. We act for the Fund which, as you are aware, invested in notes with an aggregate
            principal value of just under US$440 million issued by Hoffman S.à.r.l.’s
            Compartment MZ (“Hoffman”) in late 2020 (the “Notes”). The Notes have defaulted.
            The underlying Relevant Claims backing the Notes were released and the security for
            the Notes was rendered worthless as a result of transactions entered into in connection
            with the refinancing and restructuring of Katerra Inc. (Cayman) (“Katerra Cayman”)
            and its affiliates (collectively, “Katerra”) which was facilitated by SBG (and, together
            with its affiliates, including entities connected to the Vision Funds, the “SoftBank

1
       Our understanding is that the Nova HIF fund formerly held Fairymead Notes, but only the Fund presently
       does so.



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           Entities”)2 in 2020. As explained below, SoftBank Entities were instrumental in the
           refinancing and restructuring, despite the fact that they knew or should have known
           that a central component of it would violate the Note Trustee’s rights in respect of the
           Notes and inevitably cause loss to the Fund.



       3. We write to put you on notice of potential claims against SoftBank Entities and to seek
           a full explanation of the conduct of those SoftBank Entities in relation to these matters.

Executive summary3

The Katerra Programme

       4. On 9 December 2019, Katerra Delaware entered into an RPA with Greensill Ltd under
           which Katerra sold Receivables to Greensill Ltd. Greensill Ltd granted participations
           in respect of its rights under the RPA and security to another Greensill entity, GCUK,
           and GCUK assigned all its rights in that regard to a special purpose vehicle, Hoffman,
           which securitised those rights and issued notes purportedly backed by Relevant
           Claims. Greensill Capital Securities Ltd distributed these notes to the Fund (which
           holds the underlying economic interest in the Notes), which in this manner funded the
           financing of Katerra. The principal value of the Fund’s investment in the Notes was
           just under US$440 million.

       5. SoftBank Entities were invested in Greensill since 2019, in Katerra since 2018 and in
           the Fund between March and July 2020. Through such investments and the information
           they received from CSAM and Greensill, the SoftBank Entities were aware of the
           nature of the Fund’s investments, and the mechanics of the securitisation.




2 The SoftBank Entities, as referred to herein, include but are not limited to the following SBG affiliates currently
     believed to have been involved in the events described in this letter: SoftBank Vision Fund LP, SoftBank
     Vision Fund II-2 LP, SVF Abode (Cayman) Limited, SVF II Abode (Cayman) Limited, SVF Habitat
     (Cayman) Limited, SB Investment Advisers (UK) Limited, SB Investment Advisers (US) Inc., SVF II
     Wyatt Subco (Singapore) Pte. Limited, and SVF II Holdings (Singapore) Pte. Ltd.
3
    All capitalised terms referred to in the Executive Summary are defined in the main body of this letter.
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Mr Masayoshi Son’s personal knowledge and involvement in the Katerra programme

   6. When the RPA was entered into, SoftBank Entities had invested in both Katerra and
       Greensill. Further, Greensill financed various SoftBank portfolio companies,
       including, in December 2019, Katerra (of which SVF was, at that time, the largest
       capital investor). However, by early 2020, Katerra had defaulted on the covenants in
       the RPA.


   7. Around the time the RPA was entered into, SoftBank Entities provided credit support
       to Greensill Ltd. Mr Masayoshi Son was personally involved in the discussions
       surrounding providing such credit support; an email from Lex Greensill dated 19
       December 2019 states that, “Masa was personally sighted on the issue and gave me
       his personal commitment that the guarantee will be issued…(I have now done so and
       Masa was explicit about his support.)”. Thus, Mr Masayoshi Son was aware of the
       Katerra programme from, or very soon after, its creation.


The Katerra restructuring and refinancing, SoftBank’s role in it and Mr Masayoshi Son’s
knowledge of it

   8. Unbeknown to the Fund, just nine months after entry into the RPA, SoftBank Entities
       facilitated and drove the restructuring of Katerra which violated the Note Trustee’s
       rights in respect of the Notes and has caused loss to the Fund. While Katerra continued
       to sell Receivables to Greensill Ltd until mid-December 2020 and Hoffman issued new
       Notes to the Fund (replacing older notes which fell due), from at least September 2020
       SoftBank Entities were instrumental in the planning of an extensive financial
       restructuring of Katerra.


   9. On 10 November 2020 SoftBank Entities entered into the November Omnibus Deed
       with Greensill, which purported to oblige Greensill to account to the Vision Fund II
       for any amounts recovered in respect of the Katerra Programme. Furthermore, on 30
       December 2020 Greensill Ltd purported to extinguish the US$440 million owed by
       Katerra under the RPA, by executing a CEA, which had the effect of rendering
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       worthless the security in respect of the Notes. These transactions were conducted
       without the consent of the Note Trustee, the Noteholders, or the Fund or any of its
       representatives.


   10. The fact that SoftBank Entities drove the restructuring and refinancing is clear from
       the Debtor’s Objection and, in particular, from the facts that:


        10.1       Mr Masayoshi Son himself discussed the proposed restructuring with Lex
                   Greensill at the beginning of October 2020. Greensill thereafter cooperated
                   with Katerra and SoftBank Entities to achieve a restructuring transaction
                   that benefited SoftBank Entities.


        10.2       The November Omnibus Deed purported to oblige Greensill to account to
                   the Vision Fund II for any amounts recovered in respect of the Katerra
                   Programme.


        10.3       On 30 December 2020 Greensill Ltd entered into a Transfer Agreement
                   pursuant to which it transferred, for no consideration, the Katerra shares
                   received by Greensill Ltd in the Katerra recapitalisation and refinancing
                   transaction to SVF II Abode (Cayman) Limited, a SoftBank Entity.


The Fund is the ultimate victim

   11. The ultimate victim of these matters is the Fund, which has acquired Notes which have
       defaulted and in respect of which it has made no recoveries.


   12. It is clear from the above background that the Fund (and/or its representatives) have
       claims against SoftBank Entities for the loss suffered as a result of the default of the
       Notes. Further details of these claims are set out set out at para 95 below.



Background
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  13. Capitalised terms herein refer to those terms as defined in the relevant documents.


The RPA

  14. Greensill Limited (“Greensill Ltd”, and, together with its affiliates, “Greensill”)
     entered into a Receivables Purchase Agreement with Katerra Inc (Delaware)
     (“Katerra Delaware”) and other Sellers dated 9 December 2019 (the “RPA”). The
     RPA provided a framework for the Sellers to sell Receivables to Greensill Ltd. The
     definition of Receivables included expected future amounts intended to become
     payable as a result of anticipated future sales of goods or services (“Future
     Receivables”). One of the conditions for a purchase was that the aggregate amount
     outstanding as a result in respect of Future Receivables would not exceed US$150
     million.

  15. The Proposed Receivables to be sold on any applicable Purchase Date were to be
     identified in the schedule exhibited to a Request substantially in the form in Schedule
     1 to the RPA. That exhibit would list the Account Debtor and the currency, amount
     and due date of each Receivable to be sold. If the conditions precedent in section 1(b)
     of the RPA were satisfied, Greensill Ltd was to purchase the Proposed Receivables
     and to pay the applicable Purchase Price on the Purchase Date.

  16. On each occasion on which Receivables were sold to Greensill Ltd, the Purchase Price
     is understood to have been paid by Greensill Capital (UK) Ltd (“GCUK”) on its behalf.
     GCUK would have been in funds to do so from the proceeds of the note(s) securitised
     by interests arising in connection with those Receivables, which were acquired as
     explained below.

  17. With each purchase, Greensill Ltd became the owner of the Seller’s right, title and
     interest in the Purchased Receivable and all Related Security, Collections and proceeds
     (as defined in the RPA).

  18. If an Event of Repurchase occurred under clause 5 of the RPA, which included a
     Dispute arising in respect of a Purchased Receivable, a Purchase Receivable not being
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           paid by the Expected Payment Date, or a Future Receivable not becoming a fully due
           and payable payment obligation within 180 days of purchase, Greensill Ltd could
           require the Seller to repurchase the affected Purchased Receivable.

      19. While sales of Receivables were proceeding in accordance with the RPA, any amounts
           falling due in respect of Purchased Receivables were collected and credited to
           Greensill Ltd, and it was also possible for the amount falling due on an Event of
           Repurchase to be set-off against the Purchase Price of further Proposed Receivables
           pursuant to clause 5(f) of the RPA. The Repurchase Price would be the amount paid
           plus interest from the Expected Payment Date to the date of full payment (at the
           Discount Rate, defined as LIBOR + 6%).

      20. Accordingly, on each Purchase Date, Greensill Ltd acquired from the Seller identified
           in the Request, title in the listed Receivables which should have resulted in a payment
           from the Account Debtor on the applicable Due Date or a payment from the Seller
           following an Event of Repurchase.

      21. At the same time as the RPA was entered into, Katerra Cayman entered into a Parent
           Guarantee with Greensill Ltd. In addition, other liens and security interests were
           granted over certain assets of the Sellers pursuant to the RPA, and other agreements.

      22. At the time when the RPA was entered into, SoftBank Entities were investors in both
           Katerra and Greensill:

           (1) SoftBank Vision Fund I (“SVF”) had (in 2018 and 2019) contributed
               approximately US$1.4 billion of financing to Katerra and had become its largest
               capital investor, and, in 2019, SVF provided Katerra with an additional US$200
               million in exchange for a promissory note and another US$150 million in exchange
               for an ownership stake in Katerra Middle East.4



4
    See the declaration of Matthew Niemann dated 7 June 2021 filed in the Bankruptcy Proceedings (as defined
       below) (“Niemann”) at [19] and [22], and the declaration of Marc Liebman, Chief Transformation Officer
       of Katerra Cayman, dated 7 June 2021 filed in the Bankruptcy Proceedings (“Liebman”) at [53] and [60].
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           (2) SVF and/or its affiliates were also heavily invested in Greensill in 2019, having
               invested approximately US$1.455 billion that year. Niemann [20] states that “SVF
               and/or its affiliates owned approximately 40% of Greensill at the time of the 2020
               recapitalization transaction described herein”.

       23. A Fee Letter dated 9 December 2019 was also entered into connection with the RPA
           between, in particular, Katerra Delaware, the other Sellers and Greensill Ltd (the “Fee
           Letter”). This provided, in particular, that “it shall be a further condition to Buyer’s
           commitment to fund any Request that credit support provided by SoftBank Group Corp.
           or an affiliated entity (“Softbank”) on or about the date hereof in the form of a credit
           default swap or guarantee, and/or any other credit support provided by Softbank, has
           been honoured and/or is and remains in place in full force and effect in form and
           substance satisfactory to Buyer (or an affiliate of Buyer) and Softbank”. SBG
           (including close and direct involvement from Mr Masayoshi Son personally) and the
           Vision Fund specifically discussed the Katerra financing and this credit support with
           Greensill in December 2019. On 19 December 2019, Lex Greensill sent an email with
           the subject line ‘Katerra – Variation’ to certain Greensill staff regarding SoftBank’s
           approval of a guarantee which formed part of the underlying Katerra programme. The
           email includes: “Masa was personally sighted on the issue and gave me his personal
           commitment that the guarantee will be issued…(I have now done so and Masa was
           explicit about his support.)”


       24. Further, “At virtually all times from March 2020 through December 2020, the
           aggregate amount outstanding under the RPA was about $440 million”.5


       25. We also now understand that by early 2020, the Sellers had defaulted on the covenants
           in the RPA and that on 30 March 2020, 1 June 2020 and 12 November 2020, Standstill
           and Forbearance Letters were entered into with Greensill Ltd.6 The Fund was not
           informed of Katerra’s precarious financial situation.

5
    Greensill Chapter 11 Claim, as defined below.
6
    Debtors‘ Objection (as defined below) at [12].
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The Participation Agreement and Security Agreement

   26. Greensill Ltd entered into a Participation Agreement with GCUK dated 19 December
      2019 (the “Participation Agreement”), under which Greensill Ltd offered and GCUK
      as Participant accepted Participations in the Payment Obligations acquired by Greensill
      Ltd under the RPA. A Participation constituted a contractual right to be paid an amount
      equal to all amounts received by Greensill Ltd in respect of the individual Participated
      Payment Obligation and any Related Rights relating thereto.


   27. In return, it is understood that GCUK (as agent for Greensill Ltd) paid the Seller for
      the Receivables under the RPA. It funded those purchases by selling its rights to
      receive money from Greensill Ltd on to Hoffman, which in turn funded them by selling
      notes securitised upon those rights. GCUK was also Greensill Ltd’s agent for the
      receipt and processing of the offer files generating a Payment Obligation, and
      performed the operational duties of Greensill Ltd.

   28. Greensill Ltd granted GCUK security for its obligations under the Participation
      Agreement, in the form of a Security Agreement containing fixed and floating charges
      over its assets (including a first fixed charge over all its present and future rights under
      and in connection with all Payment Obligations acquired under the Relevant
      Receivables Purchase Agreement and all of its present and future rights under the
      Transaction Documents), also dated 19 December 2019 (the “Security Agreement”).



The Notes

   29. Greensill refinanced loans it granted and receivables it purchased, including by issuing
      asset-backed notes through SPVs.


   30. In particular, there were a number of receivables programmes established by GCUK
      with Hoffman to act as the Issuer of Notes under an ‘up to USD 20,000,000,000
      Secured Note Programme backed by Relevant Claims’ known as the Lagoon Farm
      Programme.
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  31. Hoffman is organised to have compartments which form a separate and distinct part of
     Hoffman’s estate and have legal capacity as a matter of Luxembourg law. For each
     designated set of Sellers, there was a separate compartment and a separate series of
     notes. In the case of the RPA, the relevant Hoffman compartment is ‘MZ’ and the Note
     Programme was known as the Fairymead Programme.

  32. GCUK entered into a Master Assignment Agreement with Hoffman as (Initial)
     Purchaser and Citibank N.A., London Branch (“Citi”) as Note Trustee, dated 21
     December 2017 (the “MAA”).

  33. The MAA operates as an umbrella agreement setting out the terms on which GCUK
     could sell and assign its right, title and interest in a Payment Obligation, and all of
     GCUK’s Additional Rights relating to that Payment Obligation, to Hoffman. The
     actual sales and purchases were effected between GCUK and a specific Hoffman
     compartment, with clause 1.5 of the MAA providing that the provisions of the MAA
     apply mutatis mutandis as a separate and independent agreement between GCUK,
     Hoffman acting through that compartment, and the Note Trustee.

  34. To effect the sale of a Payment Obligation and the related Additional Rights, GCUK
     was required to deliver an Offer File containing the information specified in the
     definition in clause 1.2 of the MAA and in the form at Schedule 2 of the MAA.

  35. The Hoffman compartment could accept the offer in an Offer File following the
     procedure in clause 2.3 of the MAA by returning it to GCUK attached to a password
     protected email from an Authorised User, marked ‘accepted’. If it did so, subject to
     certain conditions, it became obliged to pay GCUK the Purchase Price.

  36. Each set of Payment Obligations and Additional Rights acquired by Hoffman from
     GCUK was used to secure a note or notes. In the case of the Fairymead Programme,
     the notes were distributed by Greensill Capital Securities Limited, a subsidiary of
     GCUK. They were issued in the form of a Regulation S Global Note and registered in
     the name of the nominee for the common depository for Euroclear and Clearstream,
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     Luxembourg. We understand that the only notes issued by Hoffman compartment MZ
     under the Fairymead Programme (the “Fairymead Notes”) relate to the Receivables
     acquired by Greensill Ltd under the RPA in respect of which GCUK acquired
     Participations under the Participation Agreement.

  37. The purchasers of interests in the Fairymead Notes over the life of the Fairymead
     Programme were the Fund and the Credit Suisse Nova (Lux) Supply Chain Finance
     High Income Fund. However, in the relevant period for the outstanding Notes which
     have defaulted, the only purchaser was the Fund. As a result, interests in all the
     outstanding Notes are held in the clearing systems on behalf of the Fund by Credit
     Suisse (Luxembourg) SA, which acts as the Credit Suisse custodian (the “CS
     Custodian”).

  38. Citi is the Note Trustee which holds security for the obligations of Hoffman in respect
     of Notes issued under the Lagoon Farm Programme, including the Fairymead Notes.

  39. Hoffman entered into a Master Trust Deed with Citi originally dated 13 October 2017
     and supplemented by a Supplemental Trust Deed dated 21 December 2017 and by a
     Second Supplemental Trust Deed B dated 18 December 2019 (the “MTD”). The MTD
     sets out the terms on which Hoffman as Issuer of Notes will create security for its
     payment and other obligations under a particular tranche of notes by executing and
     delivering a Supplemental Trust Deed in respect of that tranche. It also contains at
     Schedule 3 the General Conditions of the Notes.

  40. The terms of the Fairymead Notes to be issued by Hoffman were described in a ‘Series
     Supplement Number 1’ dated 18 December 2019, which incorporated a ‘Product
     Annex’ and a ‘Cash Collection and Allocation Annex’.

  41. Each time Hoffman acquired interests in relevant Payment Obligations and Additional
     Rights from GCUK and issued a related Note, it executed and delivered a Pricing
     Supplement identifying the Aggregate Principal Amount of the Note with its Maturity
     Date, and the Relevant Claims which were listed in an enclosed Relevant Claim
     Report, and which had a Maturity Date purportedly corresponding to the Maturity Date
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          in respect of the notes. The Relevant Claims are understood to be the relevant
          Receivables sold to Greensill Ltd by a Seller under the RPA, in respect of which
          Greensill had granted a Participation to GCUK, and GCUK had assigned its interests
          to Hoffman.

      42. Para 5 of Part B of each Pricing Supplement constitutes the Supplemental Trust Deed
          for the tranche of Notes referred to above at para 39. Part B, para 5(3) creates the
          security contemplated by the MTD.

      43. Part B para 5(3) of each Pricing Supplement effects, among other things, a ‘first
          ranking’ assignment to Citi as Note Trustee of all Hoffman’s right, title and interest,
          present and future, in and under the Relevant Claims identified in the Pricing
          Supplement and the Additional Rights relating thereto. This is assigned as continuing
          security for the payment of all amounts which Hoffman is liable to pay in relation to
          all the Notes comprising the Series of which the Tranche forms a part.

      44. The cumulative effect of the series of assignments from GCUK to Hoffman and
          Hoffman to Citi is that Citi:

            44.1        Is the assignee of all rights which have been created as between Greensill
                        Ltd and GCUK under the Participation Agreement, and is to be regarded
                        as the Participation Holder for the purposes of that Agreement.7


            44.2        Will contingently and immediately become the beneficial owner of any
                        future rights under the Participation Agreement, as and when they come
                        into existence.

      45. Citi holds those rights and incipient contractual rights which equity will enforce as
          security for Hoffman’s obligations to pay the holders of the Fairymead Notes.



7
    “Participation Holder” is defined in the Participation Agreement as “any holder of a Participation, being
       Participant initially, or any person to whom Participant or any other Participation Holder transfers or
       assigns such Participation”.
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Investment by SoftBank Entities in the Fund

       46. By the end of 2019 (when, as noted above, SoftBank Entities had invested heavily in
           Greensill), the supply-chain finance funds (the “SCF Funds”) managed by Credit
           Suisse Asset Management (“CSAM”) had over US$1.2 billion exposure to Vision
           Fund portfolio companies (including, in particular, Oyo Hospitality, View Inc, Guazi
           Ltd Holdings, and Fair Financial Holdings), through notes presented to the SCF Funds
           by Greensill.


       47. On or about 23 March 2020,8 SBG9 subscribed for shares in the Fund, investing an
           amount of some US$1.5 billion. We understand from the November Omnibus Deed10
           that GCUK entered into a letter of undertaking with SBG in connection with this
           investment.


       48. By virtue of its investment in the Fund, SoftBank Entities were aware of the nature of
           the Fund’s investments, including the Fairymead Notes, and that the notes were
           securitised on receivables:

            48.1         The Offering Memorandum dated 1 July 2019 in respect of the Fund
                         records that the Fund will be investing in “zero coupon global notes issued
                         at a discount by a special purpose vehicle” that are “backed by buyer-
                         confirmed trade receivables/buyer payment undertakings, supplier
                         payment undertakings and account receivables”, and that “The
                         Receivables are syndicated into the Notes….”.

            48.2         On 23 March 2020, Akira Takahashi of CSAM sent to Seiichi Morooka of
                         SoftBank a presentation of the Fund which explained the business model
                         of the Fund, that Katerra was at such time the fifth biggest obligor in which




8
    See Recital A to the Omnibus Deed.
9
    See Recital A to the Omnibus Deed.
10
     As defined below.
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                  the Fund had invested and that 3% of the Fund’s assets were invested in
                  Katerra notes.



   49. Moreover, as noted above, SoftBank Entities were involved in the RPA from the
      outset, and were also investors in both Katerra and Greensill. Through these
      investments, SoftBank Entities knew of the Greensill financing model.


   50. Credit Suisse Virtuoso SICAV-SIF (defined as the “Company”) acting on behalf of
      the Fund (defined as the “Subfund”), Credit Suisse Fund Management S.A (defined
      as the “AIFM”), and SBG (defined as the “Investor”) entered into a Side Letter
      Agreement dated 23 April 2020 in connection with SBG’s investment in the Fund (the
      “SBG Side Letter”). This provided, inter alia, that the Subfund had not acquired any
      supply chain finance outside the GCUK program and had limited its investment in
      target funds to the Authorised Target Funds, and would not acquire any supply chain
      finance asset outside the GCUK programme or invest in any other collective
      investment scheme other than the Authorised Target Funds at any time while the
      Investor had any investment in the Subfund.


   51. The Side Letter was terminated in July 2020, and SBG exited its investment in the
      Fund around 15 July 2020.


The Katerra restructuring and refinancing

   52. Unbeknown to the Fund and its representatives, between September and December
      2020, SoftBank Entities facilitated and drove the restructuring and refinancing of
      Katerra which violated the Note Trustee’s rights in respect of the Notes and has caused
      loss to the Fund, as explained below.
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       53. As mentioned above, by early 2020, the Sellers had defaulted on the covenants in the
           RPA and on 30 March 2020, 1 June 2020 and 12 November 2020, Standstill and
           Forbearance Letters were entered into with Greensill Ltd in connection therewith.11

       54. In May 2020, Katerra commenced a Series F round of financing, and SVF (through
           SVF Abode (Cayman) Ltd (“SVF Abode”)) provided Katerra with an initial US$100
           million of funding and agreed to fund another US$100 million approximately 45 days
           later. Further, SVF exchanged its 49% ownership stake in Katerra Middle East for
           another US$150 million in Series F shares.12

       55. Also in May 2020, Katerra identified potential improper revenue recognition practices
           and an independent committee of Katerra Cayman’s Board was formed to investigate.
           As a result of the investigation, SVF Abode exercised its contractual right to withhold
           the additional US$100 million of financing on the 45-day timeline.13

       56. In August 2020, Katerra engaged Kirkland & Ellis as restructuring counsel, and SVF
           provided the additional US$100 million in connection with the Series F Financing that
           it had previously elected not to provide.14

       57. Niemann [23] provides that:
           “In September 2020, Houlihan Lokey was engaged to render investment banking
           services to Katerra in connection with Katerra’s liability management initiatives and
           exploration of strategic alternatives….Katerra, with the assistance of Houlihan Lokey,
           approached several parties, including existing counterparties of Katerra and other
           interested parties to explore financing and other strategic transactions. Houlihan
           Lokey actively pursued negotiations with SVF and a consortium of new investors and
           existing stakeholders (the “Consortium”) who expressed a desire to support Katerra’s
           business. The proposed transaction contemplated a new-money investment by the
           Consortium and SVF of approximately $380 million in exchange for a 90% ownership
           stake in Katerra….In addition, the transaction contemplated the retirement of
           Katerra’s outstanding Greensill Receivables Facility and the sale of Katerra’s
           ownership interests in certain foreign ventures. Katerra, SVF and the Consortium

11
     Debtors‘ Objection (as defined below) at [12].
12
     Niemann [22]; Liebman [6] and [60].
13
     Liebman [7] and [61].
14
     Liebman [65].
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           executed a non-binding letter of intent reflecting this transaction. The transaction,
           however, did not materialize”.


       58. This evidence makes clear that in September 2020, the involved parties including SVF
           and Katerra were contemplating a “retirement” of the RPA.15 This is despite the fact
           that SoftBank Entities were or should have been aware that the RPA was the basis for
           the rights under the Participation Agreement which constituted the security in respect
           of the Fairymead Notes.


       59. An email chain of 8 October 2020 shows Katerra’s advisors arranging a meeting with
           SB Investment Adviser’s (“SBIA’s”) Jeffrey Housenbold and Justin Wilson, attaching
           a business plan which involved, among other things, “Greensill-purchased A/R” being
           “returned to Katerra U.S.”, and “[a]ll A/R previously purchased by Greensill will be
           given back to Katerra US to collect and utilize the proceeds of”.

       60. SBIA’s Jeffrey Housenbold and Justin Wilson were Katerra Cayman Board members
           at this time and at least as of 23 December 2020 and SBIA’s Hatim Sukhla (Director,
           Americas) was also present at Katerra Board meetings concerning the 2020
           restructuring and refinancing. SoftBank Entities were accordingly represented on
           Katerra Cayman’s Board.


       61. The RPA and “related conversation with Greensill” were discussed at a 12 November
           2020 Katerra Cayman Board meeting.

       62. On 10 November 2020, Greensill Capital Pty Ltd (“Greensill Parent”), GCUK, SBG
           (defined as “SoftBank”), SVF II Holdings (Singapore) Pte Ltd (defined as “Vision
           Fund II”) and another entered into an Omnibus Deed (the “November Omnibus
           Deed”), as to which:



15
     See also the Debtors’ Objection (as defined below) at [14] which provides: “In August and September 2020,
        Katerra engaged outside legal, financial and restructuring advisors. The company also added independent
        directors to begin exploring in-court and out-of-court restructuring options to, among other things, address
        Katerra’s obligations under the Receivables Arrangement”.
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      62.1       Recital A specifically records SBG’s investment in the Fund.


      62.2       Recital C provides: “As part of the consideration provided by [Greensill
                 Parent] in respect of the SVF II Loan Note, [Greensill Parent] will assume
                 any and all losses in respect of the Katerra Notes and the Katerra
                 Programme”. The “Katerra Notes” are defined as “the notes issued by
                 Hoffman S.à.r.l., compartment MZ (which are backed by payment
                 obligations originated under the Katerra Programme)”. The “Katerra
                 Programme” is defined as “the receivables financing programme
                 provided by Greensill Limited as buyer and amongst others, Katerra Inc
                 as a seller under a receivables purchase agreement dated 9 December
                 2019 (as amended, restated and or updated from time to time)”. It is clear
                 from these definitions that SBG was aware of the Fairymead Notes and of
                 the payment obligations backing them.

      62.3       Recital D provides: “In connection with [Greensill Parent] assuming any
                 and all losses in respect of the Katerra Notes and the Katerra Programme,
                 [SBG] agreed to conditionally waive [redacted]… and [redacted] agreed
                 to enter into a sale and purchase deed with SoftBank on or around the date
                 of this Deed …with respect to the sale and purchase of certain shares in
                 [Greensill Parent]”.

      62.4       Under clause 2.1, Greensill Parent and GCUK waived and released SBG,
                 Vision Fund II, SVF Wyatt (Singapore) Ltd and SB Investment Advisers
                 (UK) Ltd and their Related Parties from claims arising under, in
                 connection with or relating to the Katerra Programme and the Katerra
                 Notes.

      62.5       Clause 3 obliged Greensill Parent and GCUK to, and to procure each other
                 Greensill Group Company to:
             “(a) account to the Vision Fund II or any subsidiary, affiliate or third party
             nominated by the Vision Fund II for any amounts recovered in respect of the
             Katerra Notes and/or Katerra Programme and promptly following receipt
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             remit such amounts in immediately available funds to the Vision Fund II (or to
             such person nominated by Vision Fund II);
             (b) use its best endeavours to recover any amounts to which it or any Greensill
             Group Company is entitled to under the Katerra Notes and/or Katerra
             Programme;
             (c) recover under the Katerra Notes and/or Katerra Programme at least
             US$176,000,000 in the aggregate by 31 December 2020 and remit such
             aggregate amount to Vision Fund II (or to such person nominated by Vision
             Fund II) in immediately available funds by no later than 31 December
             2020…..”

      62.6       This provision was agreed, requiring Greensill Parent and GCUK to
                 account to the Vision Fund II (or its nominee) for amounts recovered in
                 respect of the Katerra Programme, and to recover under the Katerra Notes
                 and/or Katerra Programme at least US$176 million in the aggregate by 31
                 December 2020 and remit such amounts to Vision Fund II (or its nominee),
                 notwithstanding the fact that – as is clear from the definition of the
                 “Katerra Notes” in the November Omnibus Deed – the parties were aware
                 that the payment obligations originated under the Katerra Programme were
                 backing the Katerra Notes. Moreover, Greensill Parent and GCUK were
                 under this provision obliged to recover under the Katerra Notes (and/or
                 Katerra Programme) at least US$176 million by 31 December 2020
                 notwithstanding that the parties, through the restructuring and refinancing
                 discussions referred to above, were contemplating cancelling the RPA,
                 which was the basis for the rights under the Participation Agreement which
                 constituted the security in respect of the Katerra Notes.


  63. By an instrument constituting US$440 million of unsecured convertible loan notes of
     Greensill Parent dated 10 November 2020, SVF II Wyatt Subco (Singapore) Pte Ltd
     subscribed for US$440 million of unsecured convertible loan notes with a right to
     acquire stock in Greensill Parent (the “Convertible Note”). Such conversion right held
     substantial value as the conversion price was equal to the price paid by investors in the
     preceding private placement of Greensill shares.
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  64. The principal amount of the Convertible Note was paid to an account of GCUK with
     Citibank NA London on 10 November 2020. This amount was not, however, set aside
     or used for repayment of Fairymead Notes but was instead used by Greensill for other
     purposes.


  65. Niemann [24] provides that in late November 2020, SVF Abode indicated an interest
     in investing an additional US$200 million to ensure Katerra would be able to meet its
     ongoing obligations, and that Katerra issued a promissory note to SVF Abode in
     exchange for a US$25 million bridge loan whilst Katerra engaged with SVF Abode
     and other stakeholders to negotiate the terms of a restructuring and recapitalisation of
     Katerra.

  66. Liebman [11] provides:
     “in late November 2020, Katerra reached a non-binding term sheet with the only
     investor willing to engage in an out-of-court restructuring, SVF Abode, and other key
     stakeholders, agreeing to a series of transactions that resulted in the financial
     recapitalization and restructuring of Katerra’s material obligations, whereby, among
     other things:
         -   SVF Abode agreed to invest $200 million in new money in exchange for
             approximately 75% of Katerra’s post-closing equity;
         -   Certain of Katerra’s contract counterparties agreed to global amendments to
             their project contracts to amend and extend project timelines and completion
             dates in exchange for granting releases of certain claims regarding active
             projects;
         -   Greensill Ltd…extinguished approximately $440 million owed by Katerra
             under the [RPA] in exchange for approximately 5% of the post-equity closing
             in Katerra, which equity was immediately transferred by Greensill to an
             affiliate of SoftBank Vision Fund II (“SVF II) in connection with a transaction
             in which SVF II invested $440 million in the parent company of Greensill; and
         -   5% of the post-closing equity was reserved for certain existing equity holders
             and 15% of the post-closing equity was reserved in a share pool for an equity
             incentive plan and related grants”.

  67. This shows that SVF Abode was involved in discussions concerning the proposed
     extinguishment of the US$440 million owed by Katerra under the RPA, in exchange
     for 5% of the shares of Katerra which were to be immediately transferred by Greensill
     to an affiliate of SoftBank Vision Fund II (“SVF II”).
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  68. A Security Consent dated 1 December 2020 between Greensill Ltd and the Sellers
     purported to include a release by Greensill Ltd of “all liens on all assets of the Sellers
     created or existing under the [RPA] or any related documents or instruments (other
     than liens on the Purchased Receivables, including as described in those certain UCC-
     1 filings made in connection with the perfection thereto)”. Further, Greensill Ltd
     purported to consent to the transactions consummated pursuant to a Convertible
     Promissory Note dated as of 30 November 2020 issued in favour of SVF Abode
     (Cayman) Limited and all Note Documents, including the incurrence of indebtedness
     thereunder, and the granting of liens on substantially all assets of the Sellers (other
     than the Purchased Receivables).

  69. The November Omnibus Deed was amended by an amendment deed dated 23
     December 2020 (the “December Omnibus Deed”). Clause 3 of this agreement
     provided: “To the extent a Greensill Group Company, after 10 November 2020: (i)
     recovers any amounts to which it or any other Greensill Group Company is entitled
     under the Katerra Programme from any party other than SoftBank Vision Fund LP,
     Vision Fund II or SoftBank; or (ii) receives as consideration any equity interest or
     instruments convertible into an equity interest in Katerra Inc., Greensill and Greensill
     UK shall procure that such Greensill Group Company promptly remits any such
     amounts, equity interest or instruments convertible into an equity interest to Vision
     Fund II”.


  70. Again, this provision was agreed notwithstanding the fact that – as is clear from the
     definition of the “Katerra Notes” in the Omnibus Deeds – the parties were aware that
     the payment obligations originated under the Katerra Programme were backing the
     Katerra Notes.

  71. Niemann [25] records that the Katerra recapitalisation transaction was consummated
     at the end of December 2020 on the following terms (inter alia):
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         -    “SVF Abode exercised its warrant to purchase ordinary shares of the Company
              and converted $300 million of promissory notes of the Company held by SVF
              Abode to equity;
         -    the Company (i) converted all existing preferred share into ordinary shares of
              the Company, and (ii) issued a new class of preferred shares (the Series A
              preferred shares) to SVF Abode in exchange for $175 million in cash and
              extinguishment of a $25 million bridge loan owed to SVF Abode;
         -    Greensill extinguished approximately $440 million owed by Katerra under
              the Greensill Receivables Facility in exchange for approximately 5% of the
              post-equity closing in Katerra, which equity was immediately transferred by
              Greensill to an affiliate of SoftBank Vision Fund II (“SVF II”) in connection
              with a transaction in which SVF II invested $440 million in the parent
              company of Greensill”.

  72. On 23 December 2020, the Katerra Cayman Board expressly approved resolutions that,
     among other things, approved the “contribution and exchange of Greensill
     indebtedness”.


  73. The purported extinguishment by Greensill Ltd of the US$440 million owed by Katerra
     under the RPA was documented in the Contribution and Exchange Agreement dated
     30 December 2020 (the “CEA”) between Greensill Ltd, Katerra Cayman and Katerra
     Delaware, which was entered into just 8 days after the Fund acquired interests in the
     greater part of the Notes (and whilst all those Notes were outstanding), as explained
     below.

  74. The present effect of the CEA is understood to be that Greensill Ltd purported to give
     up all claims “derived from, based upon, or secured by” the RPA, the related Parent
     Guarantee and other Transaction Documents, to cancel the “Facility Obligations” and
     all other monetary obligations under the RPA and other Greensill Finance Documents,
     to release all other obligations of Katerra Delaware and the Sellers under the Greensill
     Finance Documents, and to cancel and terminate each of the Greensill Finance
     Documents. In return, Greensill Ltd received 5% of the equity capital in Katerra
     Cayman, which was simultaneously assigned for no consideration to SVF II Abode
     (Cayman) Limited pursuant to a Transfer Agreement also dated 30 December 2020
     (the “Transfer Agreement”).
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       75. Under clause 7 of the CEA, on receipt by Greensill Ltd of the Consideration, the
           Security was to be automatically released and discharged. Further, under clause 8,
           Greensill Ltd purported to release and discharge Katerra Cayman and Katerra
           Delaware from the Greensill Claims.

       76. The CEA appears to have incapacitated Greensill Ltd from being able to grant
           Participations under the Participation Agreement, and to have removed the substrate
           from that Agreement, unless and until the CEA is reversed or set aside by a court of
           competent jurisdiction.


       77. The combined effect of the above steps (assuming their validity) was to allow SoftBank
           Entities to acquire over 99% of Katerra Cayman’s equity whilst ensuring it was debt-
           free (including as regards the US$440 million owed to Greensill Ltd under the RPA):

            77.1         Niemann [26] provides: “Through the 2020 recapitalization, all of the
                         Company’s funded debt obligations and existing preferred equity were
                         extinguished”.


            77.2         As of the Petition Date, Katerra Cayman’s equity was primarily held by
                         the following entities:16




       78. It is apparent from the above that SBG and other SoftBank Entities drove Katerra’s
           refinancing and restructuring in 2020, including the purported extinguishment of the
           RPA. This is further clear from the Debtors’ Objection,17 which provides:


16
     Niemann [27].
17
     As defined below.
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        78.1          At [2] that “In late 2020, [Katerra Cayman], [SBG] (“SBG,“ together with
                      its affiliates, the “SoftBank Entities”), and [Greensill Ltd] (and their
                      affiliates) negotiated and out-of-court restructuring allowing Katerra to
                      avoid an immediate shutdown and the Greensill Entities to avoid a near-
                      total loss on the $440 million balance on the [RPA]….The SoftBank
                      Entities, as investors in both the Greensill Entities and Katerra Cayman,
                      were well-positioned to, and did, facilitate a comprehensive resolution”.


        78.2          At [15] that SBG negotiated directly with the Greensill Entities and that,
                      through the Omnibus Deeds, “the SoftBank Entities obtained the Greensill
                      Entities’ economic interest in the Receivables Arrangement, thereby
                      allowing   the   SoftBank   Entities     to   facilitate   a   comprehensive
                      reorganization of Katerra’s capital structure on December 30, 2020”.


        78.3          At [20] that “On December 30, 2020, Katerra executed an out-of-court
                      capital-raise transaction led by SBG”.


   79. In addition:

        79.1          The CEO of Katerra in a message to employees on 30 December 2020
                      stated:

                      “Katerra’s board determined that our best pass toward resetting and
                      refocusing the company was to recapitalize the business, thereby
                      strengthening Katerra’s balance sheet by eliminating substantial debt and
                      providing new capital funding. This recapitalization is supported by
                      SoftBank…”

        79.2          The Wall Street Journal reported on 30 December 2020 that:

                 “As part of the funding package, SoftBank backed financial services firm
                 Greensill Capital agreed to cancel around $ 435 m in debt owed by Katerra
                 in exchange of roughly 5% stake in the company”.

The Defaulted Fairymead Notes
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  80. Enclosure 1 annexed to this letter lists 83 notes issued by Hoffman Compartment MZ
     under the Fairymead Programme showing their ISIN number, date of Issue, date of
     Maturity and Principal Amount. These Notes were issued between 15 September 2020
     and 22 December 2020, with 68 of them issued on the later date. In the majority of
     cases, they fell due on 15 March 2021; there are 8 Notes which fell due on 17 May
     2021. All of those Notes have now fallen due. All have defaulted. The aggregate
     Principal value of those notes is US$439,999,710.


  81. In relation to the Relevant Claims backing the Notes, requests continued to be made of
     Greensill Ltd by Katerra Delaware, and accepted by Greensill Ltd, between 13
     September and 10 December 2020. Further, on 18 December 2020, Katerra Delaware
     and Greensill Ltd entered into side letters which restated the Buffer Period in respect
     of certain Purchased Receivables, the Advance Amounts of which were
     US$224,061,896.01 and US$139,191,080.01 respectively.

  82. In summary, therefore, as of 22 December 2020:


       82.1      Hoffman had issued and the Fund had acquired notes with an aggregate
                 Principal value of US$439,999,71, purportedly backed by Relevant
                 Claims.



       82.2      Interests in the Participations in respect of the Receivables acquired by
                 Greensill Ltd pursuant to the RPA had been assigned by GCUK to
                 Hoffman pursuant to the MAA and by Hoffman to Citi by a series of
                 separate assignments effected by the Pricing Supplement relating to each
                 specific Note.


  83. Given in particular their knowledge of and involvement in the RPA from the outset,
     their central role in the Katerra restructuring, their investments in Katerra and
     Greensill, the presence of SBIA representatives on the Katerra Cayman Board, their
     former investment in the Fund, and the terms of the Omnibus Deeds, SoftBank Entities
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       knew or ought to have known that the Fund was acquiring Notes purportedly backed
       by Relevant Claims, notwithstanding that they also knew that, at the same time, it was
       planned to, effectively, extinguish the RPA and Greensill Ltd’s claims against Katerra
       which were the basis for the security backing the Notes.


   84. No consent was sought from (or prior information was provided to) Citi (as Note
       Trustee), the Fund, the CS Custodian, CSAM, or any other representative of the Fund,
       in relation to the entry into the CEA and the related transactions in connection with
       Katerra’s restructuring and refinancing, notwithstanding that they should not have
       been entered into without Citi’s consent. In particular, the chain of assignments
       constitutes Citi a “Participation Holder” for the purposes of the Participation
       Agreement whose prior written consent was required under clause 8.1(C) of the
       Participation Agreement for “amendment, modification, waiver, variation or novation
       of, or with respect to” of the Transaction Documents including the RPA (which was
       the effect of the CEA, in particular). Entry into the CEA was, therefore, a breach of
       clause 8.1(C) by Greensill Ltd.


   85. In the circumstances, SoftBank Entities knew or ought to have known that the effect
       of the CEA and the related transactions in connection with Katerra’s restructuring and
       refinancing would be to violate the rights of the Note Trustee in respect of the Notes
       and to inevitably cause loss to the Fund (which holds the underlying economic interest
       in the Notes) by effectively rendering worthless the security underlying them without
       any compensation.

   86. The ultimate victim of the CEA is the Fund, which has acquired Notes which have
       defaulted and in respect of which it has made no recoveries.

Greensill insolvencies

   87. In early March 2021, Greensill collapsed and entered into insolvency proceedings in
       the UK, Australia and US.
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   88. It was only after GCUK filed for administration that the Fund discovered that Greensill
      Ltd had purported to waive its claims against Katerra through the transactions
      described above.


The Bankruptcy Proceedings and the Greensill Chapter 11 Claim

   89. Liebman [14] provides that “After providing Katerra with over $2 billion in equity
      funding to support ongoing operations and the direct repayment to Greensill of $440
      million to facilitate the 2020 recapitalization, SoftBank Vision Fund I (“SVF”)
      explained to Katerra that it could not responsibly continue to support Katerra with go-
      forward equity in May 2021”.


   90. Katerra Delaware, along with 32 affiliates including Katerra Cayman (collectively, the
      “Debtors”), filed for Chapter 11 protection in the Bankruptcy Court for the Southern
      District of Texas on 6 June 2021 (the “Petition Date”) (the “Bankruptcy
      Proceedings”). Liebman was filed by the Debtors in support of the Chapter 11
      petitions and first day motions.


   91. SB Investment Advisers (UK) Ltd (an affiliate of SVF) provided US$35 million of
      post-petition financing to Katerra Delaware. Liebman [81] provides that “Given its
      position as equity holder in Katerra, its familiarity with Katerra’s business and assets,
      and Katerra’s impending liquidity shortfall, SB Investment Advisers (UK) Limited was
      best positioned to provide the DIP Promissory note to facilitate Katerra’s soft landing
      into chapter 11”.

   92. In early August 2021, Greensill Ltd, through its liquidators, filed claims in the
      Bankruptcy Proceedings against the Debtors (the “Greensill Chapter 11 Claim”). The
      Greensill Chapter 11 Claim explains that the CEA was a transaction at an undervalue,
      and that the sole director of Greensill Ltd acted in breach of his fiduciary duties in
      causing, authorising and permitting such transaction and/or failing to prevent it from
      taking place. The Greensill Chapter 11 Claim records that, subject to lifting the
      automatic stay in the bankruptcy proceedings, the liquidators may commence
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      proceedings to pursue potential claims and causes of action seeking to rescind, avoid
      or otherwise unwind the CEA and/or seek damages, including but not limited to pursuit
      of funds held on constructive trust, transaction at undervalue, transaction defrauding
      creditors, knowing receipt on the basis of a breach of fiduciary duty, dishonest
      assistance, conspiracy to commit fraud and aiding and abetting, and breach of contract.

   93. On 31 August 2021, the Debtors in the Bankruptcy Proceedings filed an objection to
      Greensill Ltd’s proof of claim (the “Debtors’ Objection”).

Claims and questions arising

   94. You will no doubt appreciate that we are continuing to investigate and review these
      matters, including all potential claims the Fund may have against one or more of the
      SoftBank Entities and/or relevant individuals. We are reviewing these matters from
      such sources of information as are presently available to us, but we do not yet have all
      of the information or background that will be known to the SoftBank Entities.


   95. Nonetheless, it is clear from the above background that the Fund (and/or its
      representatives) are likely to have claims against SoftBank Entities for the loss suffered
      as a result of the default of the Notes, including (without limitation) claims for:


        95.1      Conspiracy between, in particular, SoftBank Entities and Greensill, with
                  wrongful conduct including breach of contract, misstatements, inducement
                  of breaches of contract and duty, and breach of directors’ duties.

        95.2      Inducement of, or aiding and abetting, breaches of contract and duty and/or
                  interference with contract.

        95.3      Breach of duties of care owed to the Fund (in particular in light of the
                  parties’ close relationship through the SBG investment in the Fund, and
                  the direct and obvious harm that would be caused to the Fund by virtue of
                  the above-referenced transactions).
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      95.4       Unjust enrichment.


      95.5       Remedies available to the Fund as the victim of the transactions pursuant
                 to section 423 of the Insolvency Act 1986 (or equivalents).

  96. CSAM has a duty to take all steps to collect the assets of the Fund, including the
     obligation to raise and, if necessary, litigate claims against third parties to make the
     Fund’s investors whole.


  97. On any basis, a number of points clearly call for an explanation. Please therefore
     provide forthwith a full explanation of the SoftBank Entities’ account of the above
     matters, including in particular the following:


      97.1       The material discrepancy between: (i) the account which Mr Masayoshi
                 Son and senior SoftBank staff gave of their knowledge and involvement
                 in the Katerra programme and subsequent extinguishment of the RPA to
                 Thomas Gottstein and other senior Credit Suisse representatives in a
                 meeting held in September 2021; and (ii) contemporaneous evidence. In
                 the September meeting, Mr Masayoshi Son denied all knowledge of the
                 Katerra programme. However, this account is inconsistent with Lex
                 Greensill’s email with the subject line ‘Katerra – Variation’ of 19
                 December 2019 to certain Greensill staff regarding SoftBank’s approval
                 of a guarantee which formed part of the underlying Katerra programme,
                 which includes: “Masa was personally sighted on the issue and gave me
                 his personal commitment that the guarantee will be issued…(I have now
                 done so and Masa was explicit about his support.)” Further, we also
                 understand, that on 10 October 2020, when the restructuring and
                 refinancing of Katerra was being developed, Lex Greensill discussed these
                 issues with Mr Son and gave a presentation to him. In light of these facts,
                 Mr Son’s stance in his meeting with Mr Gottstein is surprising and requires
                 explanation. On the face of it, it is clear that the Katerra programme had
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                 support and involvement from the most senior levels of management at the
                 SoftBank Entities.


       97.2      Precisely when, with whom, and by which SoftBank Entities the proposed
                 extinguishment of the RPA was discussed, and exactly what was
                 discussed.


       97.3      The basis upon which SoftBank Entities considered it appropriate to
                 discuss, facilitate and effect the transactions in connection with Katerra’s
                 restructuring and refinancing in 2020, including the CEA, without
                 informing or seeking the consent of Citi, or the Fund or any of its other
                 representatives, notwithstanding the obvious adverse impact upon the
                 Fund of the transactions.


       97.4      What amounts were remitted to Vision Fund II under clause 3 of the
                 Omnibus Deeds as referred to in 62 and 69.

  98. Linked to the above, please provide forthwith:


       98.1      Details of the credit support provided by SBG (or any affiliated entity) to
                 Greensill Ltd (or its affiliate) as referred to at para 23 above, with copies
                 of any relevant documents concerning such support.


       98.2      The letter of undertaking between GCUK and SBG referred to at para 47
                 above.


       98.3      The non-binding letters of intent referred to in paras 57 and 66 above and
                 copies of those documents.


       98.4      The presentation referred to at para 97.1.
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   99. We look forward to hearing from you with a full explanation of the points identified
       above, together with any relevant documents on which the SoftBank Entities rely or
       which are relevant to the above claims by no later than 5pm CEST on Thursday 21
       October.


   100.       We reserve the right to bring proceedings against one or more SoftBank
       Entities without further notice.




Yours sincerely




Freshfields Bruckhaus Deringer LLP
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                 SCHEDULE 1: RELEVANT SOFTBANK ENTITIES

SoftBank Group Corp
1-7-1, Kaigan
Minato-Ku
Tokyo, 105-7537

SoftBank Vision Fund LP
Aztec Group House
11-15 Seaton Place, St Helier
Jersey, JE4 0QH

SoftBank Vision Fund II-2 LP
Crestbridge Limited
47 Esplanade, St Helier
Jersey, JE4 0QH

SVF Abode (Cayman) Limited
1 Circle Star Way, 2F
San Carlos, CA 94070

SVF II Abode (Cayman) Limited
1 Circle Star Way, 2F
San Carlos, CA 94070

SVF Habitat (Cayman) Limited
1 Circle Star Way, 2F
San Carlos, CA 94070

SB Investment Advisers (UK) Limited
69 Grosvenor Street
London, W1K 3JP

SB Investment Advisers (US) Inc.
1 Circle Star Way, 2F
San Carlos, CA 94070

SVF II Wyatt Subco (Singapore) Pte. Limited
138 Market Street, #27-01A
CAPITAGREEN
Singapore, 048946

SVF II Holdings (Singapore) Pte. Limited
138 Market Street, #27-01A
CAPITAGREEN
Singapore, 048946
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ENCLOSURE 1: NOTES ISSUED BY HOFFMAN COMPARTMENT MZ UNDER
                 THE FAIRYMEAD PROGRAMME
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Portfolio                                       ISIN           Description    Compartment Obligor/Program                      Issue Date     Maturity   Currency     Principal ($)
Credit Suisse (Lux) Supply Chain Finance Fund   XS2121952944   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   15/09/2020    15/03/2021     USD       3,057,450.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2121953249   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   15/09/2020    15/03/2021     USD       6,851,616.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2121953322   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   15/09/2020    15/03/2021     USD       4,512,191.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2121953595   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   15/09/2020    15/03/2021     USD       7,355,640.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2121953678   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   15/09/2020    15/03/2021     USD       6,829,252.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2121953751   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   15/09/2020    15/03/2021     USD       3,900,486.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2121954056   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   15/09/2020    15/03/2021     USD       3,834,000.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2121958719   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   16/11/2020    17/05/2021     USD       5,608,632.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2121959014   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   16/11/2020    17/05/2021     USD       4,945,638.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2121959287   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   16/11/2020    17/05/2021     USD       5,333,460.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2121959790   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   16/11/2020    17/05/2021     USD       5,525,689.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190669882   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   16/11/2020    17/05/2021     USD       4,007,008.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190669965   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   16/11/2020    17/05/2021     USD       5,878,800.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190670203   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   16/11/2020    17/05/2021     USD       3,762,524.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190671607   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   16/11/2020    17/05/2021     USD       5,344,632.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190674452   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       5,037,633.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190674619   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       9,405,501.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190674700   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       7,896,386.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190674882   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       7,495,200.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190674965   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       4,579,438.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190675004   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       3,263,510.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190675186   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       7,105,430.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190675269   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       3,033,205.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190675343   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       3,246,583.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190675426   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       5,051,364.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190675699   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       4,313,108.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190675855   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       1,834,690.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190675939   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       3,105,487.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190676077   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       2,932,287.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190676150   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       4,025,402.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190676234   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       7,538,572.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190676317   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       2,343,426.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190676408   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       8,557,986.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190676580   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       3,776,771.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190676663   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       8,506,323.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190676747   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       1,854,419.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190676820   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       8,629,834.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190677042   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       5,001,410.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190677125   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       2,149,042.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190677398   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       1,139,846.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190677471   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       7,583,244.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190677554   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       3,080,394.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190677638   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD      11,131,511.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190677711   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       3,479,366.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190677802   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       3,846,545.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190677984   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       4,265,877.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190678016   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       3,096,829.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190678107   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       3,752,844.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190678289   Hoffman SARL       MZ      FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020    15/03/2021     USD       4,220,547.00
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Credit Suisse (Lux) Supply Chain Finance Fund   XS2190678362   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   3,685,248.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190678446   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   3,065,829.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190678529   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   3,944,149.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190678792   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   3,924,182.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190678875   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   3,771,329.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190678958   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   3,015,840.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190679097   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   2,703,089.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190679170   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   1,675,628.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190679253   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   9,058,999.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190679337   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   8,709,671.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190679410   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   4,288,775.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190679501   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   9,912,475.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190679683   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   7,712,384.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190679766   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   9,941,117.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190679840   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   4,252,967.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190679923   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   9,864,171.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190680004   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   6,332,411.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190680186   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   7,604,296.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190680269   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   8,065,555.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190680343   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   6,536,172.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190680426   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   3,436,643.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2190680699   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   6,843,536.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2222939956   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   6,313,505.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2222940020   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   6,550,200.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2222940293   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   6,520,708.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2222940376   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   2,241,491.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2222940459   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   3,958,776.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2222940533   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   3,898,835.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2222940616   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   9,903,618.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2222940707   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   2,303,811.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2222940889   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   9,933,934.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2222940962   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   5,030,000.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2222941002   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   9,631,377.00
Credit Suisse (Lux) Supply Chain Finance Fund   XS2222941267   Hoffman SARL    MZ   FAIRYMEAD MULTI OBLIGOR PROGRAMME   22/12/2020   15/03/2021   USD   2,341,961.00
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                        SCHEDULE 2
  MORRISON & FOERSTER (UK) LLP LETTER DATED 18 OCTOBER 2021
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                                                          THE SCALPEL                             MORRISON & FOERSTER (UK) LLP

                                                          52 LIME STREET                          BEIJING, BERLIN, BOSTON, BRUSSELS,
                                                                                                  DENVER, HONG KONG, LONDON,
                                                          LONDON EC3M 7AF                         LOS ANGELES, NEW YORK, PALO ALTO,
       A LIMITED LIABILITY PARTNERSHIP
                                                          UNITED KINGDOM                          SAN DIEGO, SAN FRANCISCO, SHANGHAI,
                                                                                                  SINGAPORE, TOKYO, WASHINGTON, D.C.

                                                          TELEPHONE: +44 20 7920 4000
                                                          FACSIMILE: +44 20 7496 8500

                                                          WWW.MOFO.COM


18 October 2021
                                                                                                  Writer’s Direct Contact
                                                                                                  +44 (207) 9204063
                                                                                                  GAnderson@mofo.com


Our ref: 29516/506

BY EMAIL: neil.golding@freshfields.com

Freshfields Bruckhaus Deringer LLP
100 Bishopsgate
London
EC2P 2SR

Attn: Neil Golding

Dear Sirs,

Letter to ‘SoftBank Group’ dated 7 October 2021

We write further to your letter dated 7 October 2021 addressed to Mr Tim Mackey “in [his]
capacity as Group Compliance Officer at SoftBank Group” (the “Letter”). Mr Mackey
has provided us with the Letter in our capacity as external legal counsel to SoftBank Group
Corp. (“SBG”). We confirm that we act for SBG.

In paragraph 1 of the Letter you state “[s]hould you require us to write separately to each
of the relevant SoftBank Entities, please let us know.” As noted above, we act for SBG;
however, we do not act for any of the other “SoftBank Entities” listed at Schedule 1 to the
Letter. We understand that Quinn Emanuel Urquhart & Sullivan LLP act for some or all
of these other “SoftBank Entities”. Please therefore direct any correspondence relating to
those entities to Quinn Emanuel (marked to the attention of Richard East).

We are considering the remaining content of the Letter and will respond in due course.

Yours faithfully




Morrison & Foerster (UK) LLP



                             Authorised and regulated by the Solicitors Regulation Authority

              A list of Partners of Morrison & Foerster (UK) LLP, a Delaware Limited Liability Partnership,
                          (registered number 4569482 8100 080747141) is available at our offices.



EU-339417
